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     RODOLFO ALAMILLO d/b/a PACIFIC LIGHT
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 8
                          UNITED STATES DISTRICT COURT

 9
            CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

10
                                           )
     RODOLFO ALAMILLO d/b/a                )   Case No.:
11
     PACIFIC LIGHT,                        )
                                           )   COMPLAINT FOR DAMAGES
12
                  Plaintiff,               )   PURSUANT TO THE CARMACK
                                           )   AMENDMENT, 49 U.S.C. § 14706
             v.                            )
13                                         )
     UNISHIPPERS GLOBAL                    )   JURY TRIAL DEMANDED
14   LOGISTICS, LLC, a Delaware limited )
     liability company; TFORCE FREIGHT, )
15   INC., a Virginia corporation; and DOES)
     1-20, inclusive,                      )
16                                         )
                  Defendants.              )
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            Plaintiff RODOLFO ALAMILLO d/b/a PACIFIC LIGHT (“Plaintiff”)
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     complains against Defendants, and each of them, as follows:
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                                             PARTIES
 4          1.     Plaintiff RODOLFO ALAMILLO d/b/a PACIFIC LIGHT (“Plaintiff”) is
 5   an individual who resides in Los Angeles County, California. For thirty years,
 6   Plaintiff’s business has manufactured glass products for interstate sales. Plaintiff’s
 7   principal place of business is in Bell, California.
 8          2.     Plaintiff is informed and believes and based thereon alleges that
 9   Defendant UNISHIPPERS GLOBAL LOGISTICS, LLC (“Unishippers”), is or was a
10   Delaware limited liability company with its principal place of business in Salt Lake
11   City, Utah and which committed the acts complained of herein, in whole or in part, in
12   this judicial district.
13          3.     Plaintiff is informed and believes and based thereon alleges that
14   Defendant TFORCE FREIGHT, INC. (“TForce”), is or was a Virginia corporation
15   with its principal place of business in Richmond, Virginia, and which committed the
16   acts complained of herein, in whole or in part, in this judicial district.
17          4.     Plaintiff is informed and believes and based thereon alleges that both
18   Unishippers and TForce regularly conduct business and operate in California, and in
19   this judicial district.
20          5.     The true names and capacities, whether individual, corporate, associate or
21   otherwise, of Defendants sued herein as DOES 1 through 20, inclusive, are currently
22   unknown to Plaintiff, who therefore sues said Defendants by such fictitious names.
23   Plaintiff is informed and believes and based thereon alleges that each of the
24   Defendants designated herein as a DOE is legally responsible in some manner for the
25   unlawful acts referred to herein. Plaintiff will seek leave of court to amend this
26   Complaint to reflect the true names and capacities of the Defendants designated
27   hereinafter as DOES when such identities become known to Plaintiff. Hereinafter,
28   reference to “Defendants” shall include the named Defendants and the DOE

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     Defendants.
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           6.      Plaintiff is informed and believes and based thereon alleges that each
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     Defendant acted in all respects pertinent to this action as the agent of the other
 4   Defendants, carried out a joint scheme, business plan or policy in all respects pertinent
 5   hereto, and the acts of each Defendant are legally attributable to the other Defendants.
 6                                JURISDICTION AND VENUE
 7         7.      The Court has subject matter jurisdiction over the claims in this
 8   Complaint pursuant to 49 U.S.C. § 14706(d) and 28 U.S.C. § 1331.
 9         8.      The Court has jurisdiction over the parties pursuant to California Code of
10   Civil Procedure § 410 and based upon the parties’ constitutionally adequate minimum
11   contacts with California.
12         9.      Venue is properly laid in California pursuant to 49 U.S.C. § 14706(d) as,
13   upon information and belief, California is a state through which Defendants, and each
14   of them, operate.
15                                 FACTUAL BACKGROUND
16         10.     For thirty years, Plaintiff’s business has manufactured glass products for
17   interstate sales. Plaintiff’s principal place of business is in Bell, California.
18         11.     On or about August 20, 2021, Plaintiff contacted Unishippers and made
19   arrangements to have two pallets of glass pipes shipped from Bell, California to its
20   customer Yellow Bird Wholesale in Portland, Oregon.
21         12.     Plaintiff is informed and believes and thereon alleges that Unishippers is a
22   common carrier subject to the jurisdiction of the Interstate Commerce Commission.
23         13.     Plaintiff is informed and believes and thereon alleges that Unishippers is a
24   motor carrier pursuant and subject to 49 U.S.C. § 14706(a)(1).
25         14.     Unishippers issued a Bill of Lading for the shipment, dated August 20,
26   2021, BOL No. LAC1063425.
27         15.     Plaintiff is informed and believes and thereon alleges that the pallets were
28   loaded on a trailer hauled by a truck owned and operated by Unishippers, in Bell,

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     California or in a truck owned and operated by a third party, at Unishippers’ direction.
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             16.   At the time the pallets were loaded on the trailer hauled by a truck owned
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     and operated by Unishippers, the pallets, and their contents, were new and in perfect
 4   condition.
 5           17.   Plaintiff is informed and believes and thereon alleges that Unishippers
 6   failed to take appropriate protective measures for the pallet shipment to prevent
 7   damage.
 8           18.   Plaintiff is informed and believes that Plaintiff’s pallets were delivered by
 9   TForce in Portland, Oregon.
10           19.   Plaintiff is informed and believes and thereon alleges that TForce is a
11   common carrier subject to the jurisdiction of the Interstate Commerce Commission.
12           20.   Plaintiff is informed and believes and thereon alleges that TForce is a
13   motor carrier pursuant and subject to 49 U.S.C. § 14706(a)(1).
14           21.   Upon delivery, TForce’s delivery employee noted “12 boxes damaged” on
15   the “Consignee Memo” presented to the delivery recipient and to Plaintiff. TForce’s
16   employee initialed the notation and signed the “Consignee Memo.”
17           22.   The twelve damaged boxes constituted an entire pallet of the two-pallet
18   load.
19           23.   All of Plaintiff’s products inside the twelve damaged boxes were broken,
20   rendered worthless and unfit to use or resell.
21           24.   Plaintiff is informed and believes and thereon alleges that TForce failed to
22   take appropriate protective measures for the pallet shipment to prevent damage.
23           25.   As a result of Defendants’ actions, Plaintiff’s property was injured and
24   damaged.
25           26.   Following Defendants’ actions, Plaintiff incurred costs and expenses
26   associated with the catastrophic shipment, including costs and expenses for evaluating
27   the condition of the products and for filing multiple claims with Defendants which
28   were rejected for no rational reason and in violation of Defendants’ stated policies and

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     practices.
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                             FIRST CAUSE OF ACTION
         Damages Pursuant to the Carmack Amendment – Against All Defendants
 4                             (49 U.S.C. § 14706 et seq.)
 5         27.    Plaintiff re-alleges each and every preceding paragraph of this Complaint
 6   as though fully set forth herein.
 7         28.    As common carriers subject to the jurisdiction of the Interstate Commerce
 8   Commission, Defendants, and each of them, are subject to the provisions of the
 9   Carmack Amendment, 49 U.S.C. § 14706.
10         29.    Unishippers’s actions as alleged herein, including the issuance of a Bill of
11   Lading to Plaintiff, qualify it as a receiving carrier or a delivering carrier.
12         30.    TForce’s actions as alleged herein qualify it as a receiving carrier or a
13   delivering carrier.
14         31.    Upon pickup by Unishippers and/or TForce, Plaintiff’s property was in
15   new and excellent condition.
16         32.    Upon dropoff by Unishippers and/or TForce, Plaintiff’s property was
17   damaged.
18         33.    All totaled, Plaintiff sustained approximately $50,000 in damages as a
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     result of the destruction of its property caused by Defendants.

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           34.    Under the Carmack Amendment, Defendants are liable to Plaintiff for

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     actual loss or injury to Plaintiff’s property.

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                                     PRAYER FOR RELIEF
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           WHEREFORE, Plaintiff prays judgment and the following specific relief
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     against Defendants, and each of them, as follows:
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           1.     Judgment in its favor with regard to all causes of actions in this
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                  Complaint;
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           2.     An award of damages under the Carmack Amendment or under the
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                common law according to proof;
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          3.    For interest, as allowed by law;
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          4.    Plaintiff’s costs; and
 4        5.    For such other and further relief as the Court deems just and proper.
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                                                          Respectfully submitted,
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     DATED: June 3, 2022                                      KIRSCHNER LAW, PC
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 9                                                           /s/ Ethan D. Kirschner
                                                            ETHAN D. KIRSCHNER
10                                                            Attorney for Plaintiff
                                                            RODOLFO ALAMILLO
11                                                          D/B/A PACIFIC LIGHT
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13
                               DEMAND FOR JURY TRIAL
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          Plaintiff hereby demands a trial by jury.
15

16   DATED: June 3, 2022                                     KIRSCHNER LAW, PC
17
                                                             /s/ Ethan D. Kirschner
18                                                          ETHAN D. KIRSCHNER
                                                              Attorney for Plaintiff
19                                                          RODOLFO ALAMILLO
                                                            D/B/A PACIFIC LIGHT
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                                    COMPLAINT FOR DAMAGES
